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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

In Re:                                              Case No. 8:24-bk-05243-CPM
Xavier Charles Alexander Washington, II             Chapter 13
             Debtor
_________________________/


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the Administrative Order (Docket
No. 4) has been furnished either electronically, or via the court’s CM/ECF System, or via first
class US mail to the U.S. Trustee; to Jon Waage, Chapter 13 Trustee, P.O. Box 25001,
Bradenton, FL 34206-5001; and to Xavier Charles Alexander Washington, II, the Debtor,
6211 S Macdill Ave Unit 1, Tampa, FL 33611; on this 29th day of November, 2024.


                                            /s/Sanad M Hamad
                                            Sanad M Hamad, Esq.
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